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                              IJNITED STATES DISTR ICT C O UR T
                              SO UTH ER N D ISTRICT O F FLO RIDA

                                 CASE NO.12-60037-CR-COHN(s)

   UM TED STA TES O F AM ERICA

   V.

   TRO Y SIM ON a/k/a SEA N R O BIN SO N ,

          Defendant.
                                          /

                                        PLEA AG REEM ENT

          TheUnitedStatesofAmericaandTroySimon (hereinafteritthedefendanf')enterintothe
   following ap eem entfordisposition ofthe chargesin thiscase:

                 Thedefendantap eestoplead guiltytocountsone and two ofthe inform ation, which

   chargehim withconspiracytopossesswithintenttodistributemarijuana,inviolationof21U.S.C.
   section 846 asto count1,and illegalre-entry into theU nited States, in violation of8 U .S.C.section

   1326(a)and(b)(2)astocounttwo.
                 TheUnited Statesagreesto dism isscountsfourand fiveoftheindictm entasto this

   defendantatthetim e ofsentencing.

                 The defendant is aware that the sentence w ill be im posed by the court after

   considering theFederalSentencing Guidelinesand Policy Statements(hereinaherçtsentencing
   Guidelines'').Thedefendantacknowledgesandunderstandsthatthecourtwillcomputeanadvisory
   sentence underthe Sentencing Guidelinesand thatthe applicableguidelineswillbedeterm ined by

   the courtrelyinginparton theresultsofaPre-sentenceInvestigation bythecourt'sprobationoffce,

   which investigation willcom m ence afterthe guilty plea has been entered. The defendantis also
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   aw arethat,undercertain circum stances,thecourtm aydepartfrom theadvisorysentencingguideline

   range thatithas com puted,and m ay raise or lower thatadvisory sentence underthe Sentencing

   Guidelines.Thedefendantisfurtheraw areand understandsthatthecourtisrequired to considerthe

   advisory guideline range determ ined underthe Sentencing Guidelines, butisnotbound to im pose

   that sentence'
                , the courtis perm itted to tailor the ultim ate sentence in light of other stam tory

   concerns,and such sentence m ay be either m ore severe or less severe than the Sentencing

   Guidelines'advisory sentence.K now ing thesefacts, the defendantunderstandsand acknowledges

   thatthe courthas the authority to im pose any sentence within and up to the statutory m axim um

   authorizedby 1aw fortheoffensesidentified in paragraph 1andthatthedefendantm aynotw ithdraw

   theplea solely asa resultofthe sentence im posed.

          4.     The defendant also understands and acknowledges that, as to count one of the

   information,thecourtm ustimposeam inim um term ofim prisonm entoftiveyearsandm ay im pose

   a statutory m axim um term ofim prisonm entofup to forty years, follow ed by a term ofsuperdsed

   release ofiiveyears.ln addition to a tenu ofim prisonm entand supervised release, the courtm ay

   impose a fine ofup to $5,000,000 asto countone ofthe inform ation. As to count two of the

   inform ation thecourtm ay im pose a m aximum tenu ofimprisonm entoftw enty years follow ed by

   a term ofsupervised release ofthree years.In addition to a term ofim prisonm entand supew ised

  release the courtmay impose a fine ofup to $250,000. As to both countsone and two ofthe

  information thecourtmustimposea specialassessm entof$100 The defendantap ees thatany
                                                                   .



   specialassessm entim posed shallbepaid atthe tim e ofsentencing. lfthe defendantis financially

  unableto paythespecialassessm ent,the defendantagreesto presentevidenceto thisOfficeand the

  Courtatthe tim eofsentencing asto the reasonsforthe defendanf'sfailure to pay.
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                Thepartiesjointlyagreethattheappropriatedispositionofthiscaseis,andapeeto
   recommendjointly,thatthecourtimposeasentencewithinaguidçlinerangeof92to 115 m onths.
                                                                                 .



   The defendantunderstands and acknowledges thatthe Courtis underno obligation to im pose a
                                               . x.               '
                                       #
   sentencethatisbelow the advisory guidelinesrange.

                TheUnited Statesreservestherighttoinform thecourtandtheprobationofficeofa1l

   factspertinentto the sentencing process,including allrelevantinfonnation concem ing theoffenses

   comm itted,whethercharged ornot,asw ellasconcerning the defendantand hisbackground.

               The defendantunderstandsthathe isrequiredby thisagreem entto provideacom plete

   statem entto theprobation ofticeabouthisbackp ound and offense conduct, and in a11otherrespects

   to cooperate in the preparation ofhisPre-sentence Investigation Report.

          8.     The obligations ofthe United States under this agreem entw ill be voided if the

   defendantfailsto providetruthfulinform ation totheprobation office and the courq orifheengages

   inm isconductthatwould constituteanotherviolation offederalorstate1aw orisdesignedto m islead

   any court,probation,orgovem m entofficeraboutany factrelevantto his sentencing.

          9.    Thedefendantisaware thatTitle 18, United StatesCode,Section 3742 and Title28,

   United States Code,Section 1291afford thedefendanttherightto appealthe sentence im posed in

  thiscase. Acknow ledging this, in exchange fortheundertakingsm adeby theU nited Statesin this

  plea agreement,thedefendanthereby waivesal1rightsconferred by Sections3742 and 1291to

  appealany sentence im posed,including any restitm ion order, orto appealthem annerin which the

  sentencewasimposed,unlessthesentenceexceedsthem axim um perm ittedby statuteoristheresult

  ofan upward departure and/oran upw ard variance from theadvisory guidelinerange thatthe Court

  establishes atsentencing. The defendantfurtherunderstandsthatnothing in this agreem entshall
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   affectthe governm ent's rightand/or duty to appealas setforth in Title 18, United States Code,

   Section 3742(b)and Title28,United StatesCode,Section 1291.However,iftheUnitedStates
   appealsthedefendant'ssentenceptlrsuantto Sections3742(b)and 1291,thedefendantshallbe
   released from the above w aiver of appellate rights. By signing this agreem ent, the defendant

   acknowledgesthatthedefendanthasdiscussedtheappealwaiversetforthinthisagreementwiththe

   defendant's attorney.

       10.     Thisistheentireav eem entand understanding between thisO ffice and the defendant.

   n ere areno otheragreem ents,prom ises,representations,orunderstandings.

                                      W IFRED O . RRER
                                      UN ITED S    ATTORN EY
                                               %
                                          -   l
   Ilate: 4 7 t7                By:
                                      TERRY L
                                      ASSISTAN T UN IT D STA TES A TTO RN EY


   Ilate:            /-k!r.--   By:
                                      J SO             S
                                      A O         EY       EFEN DAN T

                                                       #
   Ilate-
        .          tz-          By:
                                      TR   SIM ON a/k/a SEAN RO BW SON
                                      DEFEND ANT




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